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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
LCZ ENTERTAINMENT II, LLC,

                               Plaintiff,
         -v-
                                                      CIVIL ACTION NO.: 20 Civ. 5204 (JPO) (SLC)
PUBLIC BROADCASTING SERVICE AND
BRANDON CHOW,
                                                                ORDER TO INITIATE
                        Defendants.
                                                              DEFAULT PROCEEDINGS


SARAH L. CAVE, United States Magistrate Judge:

         The Complaint in this action was served on September 28,2020, with Defendant’s Answer

due on October 19, 2020. (ECF No. 15). No Answer having been filed on the docket, Plaintiff is

hereby ORDERED to request a Certificate of Default from the Clerk of Court by November 4, 2020

and to file a Motion for Default Judgment in accordance with the Individual Practices of the

Honorable J. Paul Oetken, Rule 55 of the Federal Rules of Civil Procedure, and S.D.N.Y. Local

Rule 55 by no later than November 18, 2020.

         By October 28, 2020 Plaintiffs shall serve a copy of this order on Defendants by certified

mail and shall file proof of service on the docket.


Dated:          New York, New York
                October 21, 2020

                                                      SO ORDERED



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge
